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H"ED By jé.'“ n.c.

IN THE UNITED sTATEs DIsTRIcT coURT
FoR THE wEsTERN DISTRICT oF TENNE§EEBH;,S ph
wEsTERN DIVISION » 3:2{

 

MAXEY MAwaLL, ET AL, .CUDKUS;Q§»
WDOF;:;§£§§UW

  
 

Plaintiff,
vs. No. 2:05cv2280 Ml / V

FRED PHILLIPS,

`_r\.¢'q_r'g_rv\_dv\.dv

Defendant.

 

JOINT_BRGPOBEB'SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
¥huredey?~%ugust~%§v~%€€£r Present were Javier M. Bailey, counsel
for plaintiffs, and Rebecca Lyford, counsel for defendants. At the
conference, the following dates were established as the final dates
for:
INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(&)(1): Thursday,
September 8, 2005
JOINING PARTIES: Monday, October 24, 2005
AMENDING PLEADINGS: Monday, October 24, 2005
INITIAL MOTIONS TO DISMISS: Wednesday, November 23, 2005
COMPLETING ALL DISCOVERY: Friday', April 21, 2006

(a) DOCUMEN‘I' PRODUCTION= Friday, April 21, 2006

(b) DEPosITIoNs, INTERROGATQRIES AND REQuEsTs FoR
AnMIssIoNs= Friday, April 21, 2006

Thfs document entered on the docket sheet fn compHance
with ama 53 and/or vsia; FHCP on ’j» / ~df)

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(c) EXPERT wITNESs DISCLOSURE (Rule 26)=

(1) DISCLOSURE oF PLAINTIFF's RULE 26 EXPERT
INFORMATION: Tuesday, February 21, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: Thursday, March 23, 2006

(3) EXPERT WITNESS DEPOSITIONS: Friday, April 21, 2006
FILING DISPOSITIVE MOTIONS: Monday, May 22, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to
last 1-2 day(s). The pretrial order date, pretrial conference
date, and trial date will be set by the presiding judge.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the

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scheduling dates set by this order will not be modified or

extended.

IT IS SO ORDERED.

AM K %zwf

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATE= dui/dui /L/,@?¢Mf

 

UNITED`TATES 'TRC'CISITOURT - WESTERNDISTRICT oFTr\INEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02280 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Rebecca Lyford

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Nashville, TN 37202

Javier M. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

